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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE




 GREGORY FORSBERG,
 CHRISTOPHER GUNTER, SAMUEL
 KISSINGER, AND SCOTT SIPPRELL,                          Case No.: 22-436-VAC-CJB
 individually and on behalf of all others
 similarly situated,
                                                             JURY TRIAL DEMANDED
                 Plaintiffs,
 v.

 SHOPIFY, INC., SHOPIFY HOLDINGS
 (USA), INC., SHOPIFY (USA) INC.,
 AND TASKUS, INC.

             Defendants.
 ____________________________


             PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT

        Individually and on behalf of others similarly situated, Plaintiffs Gregory Forsberg (“Mr.

 Forsberg”), Christopher Gunter (“Mr. Gunter”), Samuel Kissinger (“Mr. Kissinger), and Scott

 Sipprell (“Mr. Sipprell”) (collectively, “Plaintiffs”), bring this action against Defendants Shopify

 Holdings (USA), Inc., Shopify (USA) Inc. (the “Shopify USA Defendants”), Shopify, Inc.

 (collectively, the “Shopify Defendants”), and TaskUs, Inc. (“TaskUs”) (collectively, the

 “Defendants”). Plaintiffs’ allegations are based upon personal knowledge as to themselves and

 their own acts, and upon information and belief as to all other matters based on the investigation

 conducted by and through Plaintiffs’ attorneys. Plaintiffs believe that substantial additional

 evidentiary support for the allegations set forth herein exists and will be revealed after a

 reasonable opportunity for discovery.




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                                     I.     INTRODUCTION

        1.      This is a class action for damages against TaskUs and the Shopify Defendants for

 their joint failure to exercise reasonable care in securing and safeguarding consumer information

 in connection with a massive 2020 data breach impacting Ledger SAS (“Ledger”)

 cryptocurrency hardware wallets (“Ledger Wallets”), resulting in the unauthorized public release

 and subsequent misuse of approximately 272,000 pieces of detailed personally identifiable

 information (“PII”), including Plaintiffs’ and “Class” (defined below) members’ full names,

 email addresses, postal addresses, and telephone numbers.

        2.      Ledger sells Ledger Wallets through its e-commerce website, which is run by the

 Shopify Defendants and their subcontractors, including TaskUs, on the Shopify Defendants’

 platform pursuant to an e-commerce services agreement entered into between Ledger and

 Shopify Inc. on March 30, 2018. See Declaration of Seth Harrington, attached as Exhibit A of

 Defendant Shopify Inc.’s Opening Brief in Support of Motion to Dismiss Class Action Complaint

 for Lack of Personal Jurisdiction and Failure to State a Claim, filed in this action on July 8,

 2022 (D.I. 36) (the “Harrington Decl.”).

        3.      Ledger Wallets store the “private keys” of an individual’s crypto-assets. These

 private keys are similar to bank account passwords in that access to the private keys allows an

 individual to transfer the assets out of a cryptocurrency account. Unlike a bank account

 transaction, however, cryptocurrency transactions are non-reversible—once assets are transferred

 out of a cryptocurrency account, they are able to be distributed or spent with little information

 about where they could have gone.

        4.      Ledger Wallets were marketed as providing owners of cryptocurrency with the

 best security for their cryptocurrency because they hold password information in a physical form



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 and restrict transfer of crypto-assets in an individual’s account unless the physical device is

 mounted to a computer and a twenty-four-word passphrase is entered.

          5.    Because of these features, Ledger’s platform is built on marketing the utmost

 security and trust to its customers. As e-commerce services providers for Ledger, the Shopify

 Defendants and TaskUs were each well aware that cryptocurrency transactions are publicly

 visible through a transaction’s underlying blockchain but cannot be traced back to their particular

 owner without more information. When hackers know the identity of a cryptocurrency owner

 and know what platform that consumer is storing their crypto-assets on, the hacker can work

 backwards to create a targeted attack aimed at luring hardware wallet owners into mounting their

 hardware device to a computer and entering their passphrase, allowing unfettered access and

 transfer authority over their crypto-assets.

          6.    Accordingly, to the world of cybercriminals, Ledger’s customer list, which was in

 the possession of the Shopify Defendants at the time of the “Data Breach” (defined below), is

 extremely valuable. By accessing Ledger customer PII entrusted to the Shopify Defendants, such

 as full names, email addresses, postal addresses, and telephone numbers, hackers can engineer

 targeted communications including, but not limited to, phishing attacks, that compel users to

 unlock their cryptocurrency accounts and make untraceable, irreversible transfers of

 cryptocurrency into these criminals’ accounts overseas and within the United States. The security

 of Ledger customers’ PII is accordingly of the utmost importance. One instance of a customer

 mistakenly releasing their account information to hackers can lead to the loss of millions of

 dollars in cryptocurrency that will never be returned to their owner. Ledger, the Shopify

 Defendants, and TaskUs understood and appreciated the value of this information. See ¶ 80,

 infra.



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        7.      With their PII now in hackers’ hands as a result of the Data Breach, Plaintiffs and

 Class members are no longer in possession of a secure cryptocurrency portfolio.

        8.      Ledger, the Shopify Defendants, and TaskUs understand the seriousness of the

 potential theft and misuse of customers’ PII, and purport to address these issues. For example,

 Ledger advertises that it has “the highest security standards,” and that it “continuously look[s]

 for vulnerabilities on Ledger products as well as [its] providers’ products in an effort to analyze

 and improve the security,” and that its products provide “the highest level of security for crypto

 assets.” 1 The Shopify Defendants together tout that they “work tirelessly to protect your

 information, and to ensure the security and integrity of our platform.” 2

        9.      Ledger has built a reputation of maintaining the highest trust possible with its

 customers, including those related to consumer PII that the company shares with third parties

 like Shopify. Below are true and correct screenshots of Ledger’s advertising claims on its

 website, as well as the company’s policies related to the information that it shares with third




 1
   The Ledger Donjon, LEDGER (Oct. 23, 2019), https://www.ledger.com/academy/security/the-
 ledger-donjon (last accessed Feb. 22, 2022).
 2
   Privacy Policy, SHOPIFY (Jan. 10, 2022), https://www.shopify.com/legal/privacy#information-
 protection (last accessed Feb. 22, 2022).
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 parties in the course of its business:




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        10.    Despite the repeated promises and world-wide advertising campaign touting

 unmatched security for its customers, Ledger—and its data processing vendors, Shopify and

 TaskUs—repeatedly and profoundly failed to protect its customers’ identities, causing targeted

 attacks on thousands of customers’ crypto-assets and causing Class members to receive far less

 security than they thought they had purchased with their Ledger Wallets.



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        11.     Between April and June of 2020, hackers gained access to and exploited a Ledger

 database vulnerability through its e-commerce vendor, Shopify, and TaskUs as a third-party

 contractor, in order to obtain a list of Ledger’s customers’ PII (the “Data Breach”). By June of

 2020, hundreds of thousands of victims’ information had been traded on the black market,

 leaving Plaintiffs and Class members vulnerable to multiple phishing attacks.

        12.     The known extent of the Data Breach became much worse over subsequent

 months. Between June and December of 2020, the hackers who had acquired the Ledger

 customer list from Shopify (due to Shopify and TaskUs negligence) had published the data

 online, providing over 270,000 names, email addresses, physical addresses, phone numbers, and

 other customer information to every hacker who wanted access to this information. The attacks

 on Ledger customers, targeted at obtaining their confidential wallet passphrases or forcing

 customers to transfer thousands of dollars in cryptocurrency to untraceable accounts across the

 world, increased exponentially. Customers lost money in phishing attacks and faced threats of

 physical violence or blackmail if they did not transfer crypto-assets to criminals around the

 world. Using the customer shipping addresses that Shopify and TaskUs failed to protect, hackers

 threatened to enter Ledger customers’ homes and assault them if they did not provide payment;

 some cybercriminals even sent targeted phishing attacks under the guise of Ledger customer

 service representatives, luring Data Breach victims to provide confidential passphrases to

 hackers and allowing their assets to be drained from their accounts. 3

        13.     In the face of these circumstances, rather than acting to protect customer

 information, Ledger, Shopify, and TaskUs did not even inform Plaintiffs and Class members of




 3
  Tim Copeland, Ledger Won’t Reimburse Users After Major Data Attack, DECRYPT (Dec. 21,
 2020), https://decrypt.co/52215/ledger-wont-reimburse-users-after-major-data-hack
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  the Data Breach. Instead, Ledger initially denied that any compromise of the PII had occurred

  and continued to claim its products were superior because they provided the best protection for

  crypto-asset protection.

            14.   By December 23, 2020, however, Ledger could no longer cover up the Data

  Breach. The hacked customer list had been posted publicly online and had become widely

  available.

            15.   In response to this now-public reality, Ledger sent some customers affected by the

  Shopify and TaskUs Data Breach an email notifying them for the first time that their information

  had been affected as the result of a breach of Shopify’s merchant database; however, the email

  notice provided nothing more than a passing reference to the Shopify incident further detailed

  herein.

            16.   Below is a true and correct recitation of the notification email sent to Ledger

  customers affected by the Data Breach:

                  Dear client,

                  On December 23, 2020, Shopify, our e-commerce service provider,
                  informed Ledger of an incident involving merchant data. Rogue
                  agent(s) of their customer support team obtained Ledger customer
                  transactional records in April and June 2020. This is related to the
                  incident reported by Shopify in September 2020, which concerns
                  more than 200 merchants, but until December 21, 2020, Shopify had
                  not identified this affected Ledger as well.

                  We were able to examine the stolen data together with a third party
                  forensic firm to identify the impacted customers.

                  We regret to inform you that you are part of the customers whose
                  detailed personal information was stolen by Shopify rogue agent(s).
                  Specifically, your name and surname, detail of product(s) ordered,
                  phone number and your postal address were exposed.

                  We notified the French Data Protection Authority on December 26,
                  2020. We are continuing to work with Shopify and law enforcement

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                 on the case; an investigation is already underway, led by the FBI and
                 the RCMP. Ledger also reported the events to the French Public
                 Prosecutor and filed a complaint against the rogue agent(s).

                 Thefts and attacks such as this cannot go uninvestigated or
                 unprosecuted. We continue to work with law enforcement as well as
                 private investigators on these cases, and we are adding more
                 firepower by hiring additional private investigation capacity, adding
                 experience and approaches to finding those responsible for these
                 data thefts.

                 FINALLY, keeping you secure is our reason for existing. We will
                 soon release a technical solution that will remove the 24 words as
                 the single pillar of the security of our hardware wallets and will open
                 the door to funds insurance.

                 If you would like more detail on the many steps we are taking to
                 prevent such incidents in the future, please read this blog post.

                 Sincerely,
                 Pascal Gauthier
                 Ledger CEO

         17.     The notification email provided nothing more than a passing reference to the

  Shopify and TaskUs Data Breach, with the message containing a single hyperlink to a blog post

  on Shopify’s website from September of 2020 that describes the extent of the Data Breach. A

  true and correct screenshot of the blog post on Shopify’s website is copied below:




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         18.     It would not be revealed until months later that the “rogue members” of Shopify’s

  support team included employees of TaskUs, Inc., a Delaware company that operates as a data

  vendor for a number of Shopify clients. Also revealed was that a hacker known as “Pokeball”

  solicited members of TaskUs who processed Shopify merchant data for a list of customers using

  various merchants’ services, including Ledger. 4

         19.     The Shopify Defendants negligently entrusted Ledger customer information to

  TaskUs’s data processing team who, in turn, failed to maintain the PII using adequate data safety

  standards. All Defendants failed to monitor the PII and prevent its theft.

         20.     Defendants’ misconduct, including but not limited to their failure to (a) prevent

  the Data Breach and (b) take action in response thereto for approximately six months—if not

  longer—has made targets of Plaintiffs and Class members, with their identities and contact



  4
   Natalie Wong & Gerrit De Vynck, Shopify Says ‘Rogue’ Employees Stole Data from
  Merchants, BLOOMBERG LAW (Sept. 22, 2020), https://news.bloomberglaw.com/privacy-and-
  data-security/shopify-says-rogue-employees-stole-data-from-merchants?context=article-related.
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  information known or available to every hacker in the world who wants access to this

  information.

         21.     Defendants’ deficient response compounded the harm that has already been

  experienced by Plaintiffs and Class members. For example, by failing to notify every affected

  customer or admit to the full scope of the Data Breach, Shopify and TaskUs left Plaintiffs and

  Class members unaware of the Data Breach and concomitant hacking risks. Defendants’ failure

  to adequately warn their merchant clients of the Data Breach led to Plaintiffs and Class members

  falling victim to hackers’ phishing emails and resulting fraud.

         22.     Moreover, Defendants’ deficient response to the Data Breach included a failure to

  provide any support for merchant clients, like Ledger, whose customers had been targeted in the

  incident.

         23.     TaskUs, who upon information and belief brokered the contract with the Shopify

  Defendants to process Plaintiffs’ and Class members’ data through TaskUS offices located in the

  United States, also failed to properly maintain Plaintiffs’ and Class members’ highly sensitive

  PII, which it knew would lead to targeted cyberattacks resulting in thousands of victims losing

  cryptocurrency funds that they expected would be kept secure.

         24.     Had Plaintiffs and Class members known that the information necessary to

  perform targeted phishing attacks against them would not be adequately protected by Shopify

  and TaskUs, they would not have paid the amount of money they did to purchase the Ledger

  Wallets. Nor, for that matter, would they have agreed to have their data transmitted to either

  company in order to perform e-commerce support for Ledger’s operations.

         25.     On behalf of the Class and several Subclasses of victims impacted by the Data

  Breach described herein, Plaintiffs seek, under state common law and consumer-protection



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  statutes, to redress Defendants’ misconduct occurring from April 1, 2020 to the present (the

  “Class Period”).

                                          II.    PARTIES

  A.     Plaintiff Gregory Forsberg

         26.     Plaintiff Forsberg is a citizen of Arizona and resides in Tucson, Arizona. Mr.

  Forsberg purchased a Ledger Nano S for use as a cryptocurrency wallet to control his

  cryptocurrency assets. On or around April of 2019, Mr. Forsberg saw advertisements online for

  Ledger services and hardware. Relying on these representations, Mr. Forsberg purchased the

  Ledger Nano device from an online retailer and transferred his cryptocurrency assets to his

  Ledger device. In adding cryptocurrency to his Ledger Wallet, he was required to provide his

  PII to Ledger’s online service, including the types of PII mentioned above in the “Data Collected

  Through Our Websites” section, including his first and last name, email address, telephone

  number, and postal address. In making his purchase decision, Mr. Forsberg relied upon the data

  security services advertised by Ledger, including the company’s use of third parties and

  independent contractors such as Shopify and TaskUs to process customer PII. Mr. Forsberg

  would not have purchased the Ledger Nano S device had he known that the sensitive information

  collected by Ledger would be at risk because of the negligence of Defendants, to whom Ledger

  entrusted Mr. Forsberg’s PII. Mr. Forsberg has suffered damages described below, including but

  not limited to the fraudulent removal of cryptocurrency from his portfolio due to a sophisticated

  scam attack on his Ledger wallet, and remains at a significant risk of additional attacks now that

  his PII has been leaked online.




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  B.        Plaintiff Christopher Gunter

            27.   Plaintiff Gunter is a citizen of North Carolina and resides in Asheville, North

  Carolina. Mr. Gunter purchased a Ledger Nano S device for use as a cryptocurrency wallet to

  control his cryptocurrency assets. On or around January of 2018, Mr. Gunter saw advertisements

  online for Ledger’s services and hardware. Relying on these representations, Mr. Gunter

  purchased the Ledger Nano S device from an authorized reseller on eBay and transferred his

  cryptocurrency assets from an online Coinbase wallet to the Ledger device using Ledger’s online

  platform in November of 2018. In making the transfer of his cryptocurrency assets from his

  Coinbase account to his Ledger device, he was required to provide his PII to Ledger’s online

  service, including the types of PII mentioned above in the “Data Collected Through Our

  Websites” section, including his first and last name, email address, telephone number, and postal

  address. In making his purchase decision, Mr. Gunter relied upon the data security services

  advertised by Ledger, including the company’s use of third parties and independent contractors

  such as Shopify and TaskUs to process customer PII. Mr. Gunter would not have purchased the

  Ledger Nano S had he known that the sensitive information collected by Ledger would be at risk

  because of the negligence of Defendants, to whom Ledger entrusted Mr. Gunter’s PII. Mr.

  Gunter has suffered damages described below, including but not limited to the fraudulent

  removal of cryptocurrency from his portfolio due to a sophisticated scam attack on his Ledger

  wallet, and remains at a significant risk of additional attacks now that his PII has been leaked

  online.

  C.        Plaintiff Samuel Kissinger

            28.   Plaintiff Kissinger is a citizen of Kentucky and resides in Burlington, Kentucky.

  Mr. Kissinger purchased two Ledger Nano S devices, a Ledger Nano X, and a Ledger Blue for



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  use as cryptocurrency wallets to control his cryptocurrency assets. On or around August of 2017

  and again in October of 2018 when Mr. Kissinger purchased the devices he saw advertisements

  online for Ledger services and hardware. Relying on these representations, Mr. Kissinger

  purchased the Ledger Nano device from an online retailer and transferred his cryptocurrency

  assets to his Ledger device. In adding cryptocurrency to his Ledger Wallet, he was required to

  provide his PII to Ledger’s online service, including the types of PII mentioned above in the

  “Data Collected Through Our Websites” section, including his first and last name, email address,

  telephone number, and postal address. In making his purchase decision, Mr. Kissinger relied

  upon the data security services advertised by Ledger, including the company’s use of third

  parties and independent contractors such as Shopify and TaskUs to process customer PII. Mr.

  Kissinger would not have purchased the Ledger Nano device had he known that the sensitive

  information collected by Ledger would be at risk because of the negligence of Defendants, to

  whom Ledger entrusted Mr. Kissinger’s PII. Mr. Kissinger has suffered damages described

  below, including but not limited to the fraudulent removal of cryptocurrency from his portfolio

  due to a sophisticated scam attack on his Ledger wallet, and remains at a significant risk of

  additional attacks now that his PII has been leaked online.

  D.     Plaintiff Scott Sipprell

         29.     Plaintiff Sipprell is a citizen of Florida and resides in Saint Augustine, Florida.

  Mr. Sipprell purchased a Ledger Nano S device for approximately $100 on or around December

  of 2017 for use as a cryptocurrency wallet to control his cryptocurrency assets. On or around

  December of 2017, Mr. Sipprell saw advertisements online for Ledger services and hardware.

  Relying on these representations, Mr. Sipprell purchased the Ledger Nano device from an online

  retailer while in Woodby Island, Washington and transferred his cryptocurrency assets to his



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  Ledger device. In adding cryptocurrency to his Ledger Wallet, he was required to provide his

  PII to Ledger’s online service, including the types of PII mentioned above in the “Data Collected

  Through Our Websites” section, including his first and last name, email address, telephone

  number, and postal address. In making his purchase decision, Mr. Sipprell relied upon the data

  security services advertised by Ledger, including the company’s use of third parties and

  independent contractors such as Shopify and TaskUs to process customer PII. Mr. Sipprell

  would not have purchased the Ledger Nano device had he known that the sensitive information

  collected by Ledger would be at risk because of the negligence of Defendants, to whom Ledger

  entrusted Mr. Sipprell’s PII. Mr. Sipprell has suffered damages described below, including but

  not limited to the fraudulent removal of cryptocurrency from his portfolio due to a sophisticated

  scam attack on his Ledger wallet, and remains at a significant risk of additional attacks now that

  his PII has been leaked online.

  E.      Defendant TaskUs, Inc.

          30.    Defendant TaskUs, Inc. is a Delaware corporation with its principal place of

  business registered at 1650 Independence Drive, Suite 100, New Braunfels, Texas 78132.

  TaskUs had access to Ledger customers’ PII as a joint data processing vendor with the Shopify

  Defendants and failed to secure the received PII or implement any security measures or even

  screening procedures to ensure that its agents, support representatives, and other individuals to

  whom Ledger and Shopify entrusted the Private PII data would ensure secure handling of the

  data.

  F.      Defendant Shopify, Inc.

          31.    Defendant Shopify, Inc. is a Canadian Corporation with offices at 151 O’Connor

  Street, Ground Floor, Ottowa, Ontario K2P 2L8.



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  G.      Defendant Shopify Holdings (USA), Inc.

          32.     Defendant Shopify Holdings (USA), Inc. is a Delaware corporation with its

  principal place of business in the United States. Shopify Holdings (USA), Inc. acts as a holding

  company for all of Shopify Inc.’s US-based subsidiaries.

  H.      Defendant Shopify (USA) Inc.

          33.     Defendant Shopify (USA) Inc. is a Delaware corporation with its principal place

  of business in Ottowa, Canada. It is a wholly owned subsidiary of Shopify, Inc. The Shopify

  entities had access to Ledger customers’ PII and failed to secure the received PII or implement

  any security measures or even screening procedures to ensure that its agents, support

  representatives, and other individuals to whom Shopify entrusted the private PII data would

  ensure secure handling of the data.

          34.     Upon information and belief, Shopify (USA) Inc. and Shopify Holdings (USA),

  Inc. are the functional equivalents of Shopify, Inc. because the two entities make no distinction

  between themselves in the public eye and use the same logos, trademarks, and websites, making

  it impossible to know the extent of any of the Shopify entities’ involvement in this Data Breach.

                                III.    JURISDICTION AND VENUE

          35.     Jurisdiction of this Court is founded upon 28 U.S.C. § 1332(d) because the matter

  in controversy exceeds the value of $5,000,000, exclusive of interests and costs, there are more

  than 100 class members, and the matter is a class action in which any member of a class of

  plaintiffs is a citizen of a different state from any defendant.

          36.     This Court has personal jurisdiction over this action because Defendants Shopify

  (USA) Inc., Shopify Holdings (USA), Inc., and TaskUs, Inc. are Delaware corporations and

  because all Defendants have availed themselves of the rights and benefits of the State of



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  Delaware by engaging in activities including (i) directly and/or through their affiliates and agents

  providing services throughout the United States and in this judicial district and abroad; (ii)

  registering with the State of Delaware Department of State Division of Corporations; (iii)

  conducting substantial business in this forum; (iv) having a registered agent to accept service of

  process in the State of Delaware; and/or (v) engaging in other persistent courses of conduct

  and/or deriving substantial revenue from services provided in Delaware and in this Judicial

  District.

          37.    Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because Defendants

  Shopify (USA) Inc., Shopify Holdings (USA), Inc., and TaskUs, Inc. reside within this District

  and have purposefully engaged in activities, including transacting business in this District and

  engaging in the acts and omissions alleged herein, in this District. Furthermore, Defendant

  Shopify Inc. controls or otherwise directs and authorizes the activities and operations of the

  Shopify USA Defendants, including the acts and omissions alleged herein, and is the primary

  beneficiary of the Shopify USA Defendants’ expected profits and, therefore, Shopify Inc. has a

  regular and established place of business in this District and venue is likewise proper here.

          38.    Shopify, Inc. dominates and has substantial, if not exclusive and effective, day-

  today control over Shopify (USA) Inc.’s and Shopify Holdings (USA)’s internal affairs and daily

  operations, thereby operating with the Shopify USA Defendants as a single entity. Not only is

  Shopify (USA) Inc. a wholly owned subsidiary of Shopify Holdings (USA), which in turn is a

  wholly owned subsidiary of Shopify, Inc., but there is also a substantial overlap among these

  entities’ executives, thereby rendering the Shopify USA Defendants mere instrumentalities of

  Shopify Inc. and imputing the Shopify (USA) Defendants’ jurisdictional contacts with this Court

  to Shopify, Inc. Indeed, Shopify (USA) Inc.’s CEO and CFO is Amy Shapero—the CFO of



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  Shopify, Inc. The Secretary of Shopify (USA) Inc. is Shopify Inc.’s Chief Legal Officer. On

  information and belief, the overlap between the entities’ executives is not just coincidental—

  these executives exercise nearly complete domination and control over Shopify, Inc.’s US

  subsidiaries, involving themselves in their day-to-day operations. Furthermore, Shopify Inc.’s

  job listings note that the company will “hire you [ ] anywhere” as long as it has an “entity where

  you are.” The Shopify Defendants, therefore, do not differentiate between each other for any job

  responsibilities or contract negotiations and thus substantial business is done through the

  American employees hired through Shopify Inc.’s subsidiary companies operating as Delaware

  corporations, including the Shopify USA Defendants.

            39.   Shopify Inc. is the primary beneficiary of the Shopify USA Defendants’ expected

  profits such that any of the acts and/or omissions alleged to have been conducted by one Shopify

  Defendant is attributable to the others.

            40.   Due to the excessive control Shopify Inc. has over the Shopify USA Defendants,

  and considering Shopify Inc. is the primary beneficiary of the Shopify USA Defendants’

  expected profits, it would be unfair and unjust if the Court failed to treat one entity as the alter

  ego of the other. Therefore, the Shopify Defendants should be treated as a single economic

  entity.

            41.   Additionally, at all times relevant to the acts and omissions alleged herein, the

  Shopify USA Defendants were acting as agents for each other and for their parent entity, Shopify

  Inc.

            42.   This Court also has personal jurisdiction over Shopify (USA) Inc., Shopify

  Holdings, and Shopify, Inc. because they solicit customers and transact business in Delaware and

  throughout the United States, including with Ledger and TaskUs.



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                                  IV.     FACTUAL ALLEGATIONS

  A.      Cryptocurrency Generally

          43.       Plaintiffs are informed and believe, and thereon allege, that each and every one of

  the acts and omissions alleged herein were performed by, and/or attributable to, each Defendant

  individually.

          44.       Cryptocurrency is a digital asset designed to work as a medium of exchange or a

  store of value. Cryptocurrencies use a variety of cryptographic principles to secure transactions,

  control the creation of additional units of currency, and verify the transfer of the underlying

  digital assets.

          45.       Bitcoin was the world’s first decentralized cryptocurrency. It is also the largest

  and most popular cryptocurrency, with a market capitalization of approximately $1.08 Billion.

  Bitcoin’s economic market led to a market of other cryptocurrencies that have a market

  capitalization of approximately $2 Trillion.

          46.       Underlying every owner of cryptocurrency’s assets are records of addresses and

  transfer amount that track the ownership and transfer of every cryptocurrency in existence. This

  record is also known as the blockchain, and is completely public, albeit without PII included in

  this publicly available information.

          47.       A website known as coinmarketcap.com, which tracks cryptocurrency markets,

  notes that there are currently more than 17,645 cryptocurrencies in existence.

  B.      Cryptocurrency Transactions

          48.       Because information about the transfer of cryptocurrencies is public, the way to

  authenticate and effectuate the transfer of these assets is to use public and private keys that are

  assigned to these assets.



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          49.      Each cryptocurrency address has one public key and one private key assigned to

  it. With the private key, one can control the address and can move bitcoin in or out of the account. The

  public key is more like a digital signature that is used to verify ownership and transfers of funds. The

  blockchain address, public key, and private key are often mathematically related to one another.

          50.      The private key, however, is the sole mechanism that allows the transfer of

  cryptocurrency. With the private key, an individual can implement an untraceable transfer of the

  cryptocurrency from one computer to another. Conversely, without the private key, cryptocurrency

  cannot be transferred. Anyone with a cryptocurrency’s private key, therefore, has total control over the

  funds in a portfolio. This key comes in many forms and must be kept private to avoid having control over

  an individual’s portfolio.

  C.      Cryptocurrency Security

          51.      As their name suggests, mathematically encoded cryptographic private keys are at the

  heart of cryptocurrency transactions. These keys are extremely secure in that they are nearly impossible

  to determine or generate without an owner’s input.

          52.      Nonetheless, there have, however, been targeted attacks used to steal cryptocurrencies by

  luring users into disclosing their private keys. One of the largest Bitcoin exchanges, for example, lost a

  staggering $280 Million in Bitcoin as recently as 2021. 5

          53.      Because it is nearly impossible to guess a ser’s private access key, hackers employ

  targeted attacks aimed at luring users into disclosing their private keys. Once a hacker gains access to

  these keys, the hacker controls its funds and can transfer them with impunity. Unlike accounts that store

  currency electronically through banks or investment funds, there is no approval process for moving

  cryptocurrency assets. Any transfer are additionally untraceable and irreversible, leaving the recipient



  5
   Ada Hui, Wolfie Zhao, Over $280M Drained in KuCoin Crypto Exchange Hack, COINDESK
  (Sept. 14, 2021), https://www.coindesk.com/markets/2020/09/26/over-280m-drained-in-kucoin-
  crypto-exchange-hack/.


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  immune from identification or consequences for their actions.

          54.     Security over a user’s private portfolio keys is therefore of the utmost importance.

  D.      Ledger Wallets

          55.     The need for security over private access keys is where Ledger hardware wallets

  enter the picture. Ledger Wallets allow customers to purchase a physical device that in turn uses

  an online application and other customer services for cryptocurrency owners to control and

  monitor their cryptocurrency portfolios.

          56.     The “hardware wallets” that Ledger sells are physical products that look like

  portable USB hard drives. Below is an example of such a Ledger hardware wallet:




          57.     The point of these “wallets” is not to store cryptocurrency inside of them like a

  traditional wallet stores physical currency. Cryptocurrency investors, rather, use the hardware

  wallet to store their private keys in a physical device that is not held online, and thus is marketed

  as a safer way of storing a user’s cryptocurrency portfolio keys.

          58.     The Ledger Wallet itself is secured with a PIN number or password, meaning that

  misplacing the wallet does not pose a risk of theft.

          59.     Ledger also maintains an online customer service application called “Ledger

  Live,” which interacts with users’ devices and allows Ledger Wallet owners to transfer, buy, sell,

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  and receive various crypto-assets. Below is a screenshot of this functionality:




         60.     Ledger, through the purchase of the wallet devices and the use of the Ledger Live

  services, collects and processes the PII of its consumers, including, but not limited to first and

  last names, email addresses, post addresses, and telephone numbers.

         61.     This PII was collected by Ledger when Plaintiffs and the Class purchased their

  Ledger hardware devices and signed up for the Ledger Live online services.

  E.     Hacking of Hardware Wallets

         62.     Users of hardware wallets generally face risks of theft of their private keys,

  usually targeted at where those keys are stored. If an owner stores their hardware keys on a

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  personal computer or other electronic device, then that device may be the target of hacking

  attempts aimed at gaining access to that device’s internal drive containing the passkey

  information. Physical hardware wallets, however, are not connected to the internet, and hackers

  must therefore utilize targeted attempts to gain a user’s passkey by luring them into revealing it,

  either online in a fake form response or directly to a cybercriminal. These attacks are usually in

  the form of phishing attacks, SIM-swap attacks, or physical intimidation, in which

  cybercriminals will force users into paying money or revealing their passcode to a hacker.

         63.     Phishing attacks entail a cybercriminal purporting to be a legitimate business or

  institution and contacting targets with the goal of luring them into revealing a passkey when they

  otherwise would not. Examples of phishing attacks include spam emails sent to mimic the look

  and feel of a banking website. The email recipient receives the email, believes she needs to link

  to the account to update information, clicks a link in the email that goes to a sham website made

  to look like the real bank website, and enters real login information into the sham website. The

  owners of the sham website then possess that victim’s real banking login and password.

         64.     SIM-swap attacks occur when an attacker gains control of an individual’s phone

  number by convincing the individual’s mobile carrier to switch the number to a new SIM-card

  that the attacker possesses. The attacker can then gain control of that phone number and bypass

  authentication pages that force the user to verify their phone number.

         65.     Users of devices like the Ledger Wallet are, by the nature of their investments,

  more skeptical of these phishing attempts and are aware of cybercriminals’ attempts to

  fraudulently procure cryptocurrency in recent years. Ledger users will commonly create unique

  email addresses used just for interacting with accounts that manage their crypto assets. Ledger

  users also have a separate dedicated phone number to use for dual-factor authentication when



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  interacting with their cryptocurrencies. By implementing these additional security measures,

  users know that cryptocurrency related emails to other email addresses and phone numbers are

  illegitimate.

          66.     Plaintiffs took some of these additional security measures in addition to buying a

  Ledger hardware wallet. Mr. Kissinger, for example, continuously updated his email password

  and implemented additional verification steps on the email address that he used to manage his

  cryptocurrency portfolios. Additionally, Plaintiff Sipprell used an entirely separate phone

  number and email account for the management of his cryptocurrency portfolio through his

  Ledger Nano device. By using a dedicated phone number and email address, Plaintiff Sipprell

  took the extra step of eliminating the risk of being lured into divulging his passkey information

  through phishing attacks on contact information that hackers could piece together from sources

  other than the Ledger data breach incident. Any communications related to his Ledger device or

  cryptocurrency portfolio on other emails would have immediately been recognized as spam by

  Plaintiff Sipprell, yet the hackers had access to his dedicated Ledger email and phone number,

  making these phishing attacks even more sophisticated and targeted towards specific Ledger

  users. This underscores the importance of securing this information.

          67.     For these reasons, the only point of vulnerability for owners of Ledger Wallets is

  public disclosure of the PII of the wallet’s owner. If hackers know the names, email addresses,

  phone numbers, or physical addresses of people who own Ledger Wallets, ingenious phishing

  attempts can be engineered to target users’ dedicated crypto-trading accounts. All that would

  need to be accomplished once this information was known is that the cybercriminals convince

  the user that they are receiving a communication from Ledger itself, leading to the disclosure of

  their secure passkeys and allowing the criminals to drain the users’ cryptocurrency.



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         68.      A great deal of information is also available about Plaintiffs and Class members

  on the dark web. This information imposes further uncompensated costs on those individuals.

  The dark web allows cybercriminals to piece information about cryptocurrency investors

  together, revealing blockchain records that can allow other hackers to monitor a user’s portfolio,

  including how much currency is in an account.

  F.     The Data Breach

         69.      Making unequivocal representations about the security of its devices noted above,

  despite knowing such representations were not true relating to its own data security practices and

  those of its data processing vendors, the Shopify Defendants and TaskUs, Ledger sold Plaintiffs

  and Class members the Ledger Nano X and Ledger Nano S wallets for $119 and $59,

  respectively.

         i.       Ledger Uses the Shopify Defendants as an e-Commerce Vendor

         70.      Ledger sells its Nano products through number of distributers, including Amazon

  and Walmart. It also sells the devices directly to customers through its own website.

         71.      The Shopify Defendants power Ledger’s website. Shopify is a large e-commerce

  company. Over a million businesses use its platform, and over $64 Billion of sales occurred on

  its platform through these businesses in 2019. Shopify Inc. is the largest publicly traded

  company in Canada.

         72.      The Shopify Defendants’ success is based on providing services to allow

  companies to easily operate online stores. The Shopify Defendants together provide e-commerce

  solutions for businesses to allow them to easily create digital storefronts. For example, the

  Shopify Defendants allow you to create a well-designed web layout, provide a payment provider

  to accept credit card payments, and make various profit and inventory applications available.



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  These solutions are essentially a software product that companies subscribe to in order to host

  digital stores.

          73.       When users purchase directly from Ledger on its shopping website or sign up for

  the Ledger Live services they must provide certain personal information before placing an order,

  such as their physical address, phone number, and email address. Because Ledger uses the

  Shopify Defendants’ services, the Shopify Defendants act as an intermediary between Ledger

  and purchasers of Ledger’s products. Therefore, the Shopify Defendants also have access to the

  personal information that purchasers provide.

          74.       The Shopify Defendants’ terms of service obligate them to “take all reasonable

  steps to protect the disclosure of confidential information, including names, addresses, and other

  information regarding customers and prospective customers.”

          ii.       The Shopify Defendants Use TaskUs as a Data-Processing Company for Ledger
                    Data

          75.       TaskUs is a U.S. based outsourcing company that provides a number of internet-

  based content services to hundreds of companies, including customer technical support, content

  moderation, and data security.

          76.       Upon information and belief, TaskUs was contracted by the Shopify Defendants

  to provide customer support and data security consulting services for Ledger’s sales website and

  the Ledger Live services, in which Ledger customers could obtain live support for their

  investments and effectuate transfers of their assets on Ledger’s website. Specifically, TaskUs

  was entrusted with the information collected by the Ledger Live service and the Ledger website

  via the Shopify Defendants’ collection of the data through their e-commerce services to Ledger.

  TaskUs therefore had access to, and was entrusted with, the sensitive user PII that would

  ultimately allow cybercriminals to target Plaintiff and Class members with sophisticated

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  phishing attacks.

           77.    TaskUs’s privacy policy specifically mentions that it collects from third parties

  that utilize its services the very types of PII that were leaked in the Data Breach. 6 The company

  notes in its privacy policy that it takes “reasonable measures to protect your Personal Information

  against loss, destruction, alteration, or unauthorised access or disclosure.”

           iii.   The Data Breach

           78.    Between April and June of 2020, certain “rogue” TaskUs employees took

  advantage of the Ledger customer information provided to the company through the Shopify

  Defendants’ e-commerce services and acquired and exported Plaintiffs’ and Class members’

  customer transactional records. The TaskUs employees also obtained data relating to other

  merchants.

           79.    On September 22, 2020, the Shopify Defendants announced that “two rogue

  members of our support team were engaged in a scheme to obtain customer transactional records

  of certain merchants,” involving “the data of less than 200 merchants” and that their support

  teams had “been in close communication with affected merchants to help them navigate this

  issue and address any of their concerns.” This announcement made it clear that the Shopify

  Defendants were aware of the Data Breach before the day of the announcement and even had

  time to “conduct an investigation” and notify affected merchants. On information and belief, the

  Shopify Defendants and TaskUs knew of the Data Breach more than a week before this

  announcement.

           80.    On February 19, 2021, a federal grand jury indicted a California hacker by the




  6
      See Privacy Statement, TASKUS (July 28, 2021), https://www.taskus.com/privacy-statement/.
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  pseudonym “Pokeball” for wire fraud related to his role in causing the Data Breach. 7 The

  indictment alleges that starting in May 2019, Pokeball paid an employee of a Shopify vendor to

  provide him with the Shopify Defendants’ merchant data. Upon information and belief, TaskUs

  was the Shopify Defendants’ vendor involved in the Data Breach.

         81.     The Data Breach involved the data of approximately 272,000 people,

  approximately a third of whom live in the United States. Hackers copied information such as

  names, order details, email addresses, physical addresses, and phone numbers. And for many

  other users, hackers obtained email addresses that were used to buy the Ledger Wallets.

         82.     By the time they publicly announced the Data Breach, the Shopify Defendants

  notified every affected merchant that rogue employees had stolen their data, but neither the

  Shopify Defendants nor TaskUs warned the hundreds of thousands of individuals harmed by the

  Data Breach. Instead, Defendants attempted to cover up and downplay the scale of the Data

  Breach and did nothing to protect the owners of data they had been entrusted with.

         iv.     Ledger Initially Denies the Extent of the Data Breach

         83.     In May 2020, public rumors arose concerning the Data Breach. The rumors were

  that Ledger’s consumer information entrusted to the Shopify Defendants had been hacked. 8

         84.     This publicly stated concern was an opportunity for Defendants to get ahead of

  the problem. Defendants should have, at a minimum: (1) disclosed the Data Breach; (2) notified

  all impacted and potentially impacted users; (3) offered services to help impacted users transition

  to new accounts and protect them from identity theft; (4) monitored for suspicious transactions;



  7
    See Criminal Indictment, United States v. Heinrich, 8:21-cr-22-JLS (C.D. Cal. 2021), Docket
  No. 16 at 2.
  8
    Jamie Redman, Hacker Attempts to Sell Data Allegedly Tied to Ledger, Trezor, Bnktothefuture
  Customers, BITCOIN (May 24, 2020), https://news.bitcoin.com/hacker-attempts-to-sell-data-
  allegedly-tied-to-ledger-trezor-bnktothefuture-custome
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  (5) hired third-party auditors to conduct security testing; (6) trained employees to identify and

  contain similar breaches; and (7) trained and educated their users about the threats they faced.

          85.    During this time, the risks and damages to Plaintiffs and Class members were

  only increasing. A prompt and proper response from Defendants, including full disclosure to all

  vendors and customers involved in the Data Breach, would have mitigated those risks and

  resulting damages.

          v.     The Data Breach is Acknowledged Publicly for the First Time

          86.    On July 29, 2020, Ledger partially admitted that it was involved in the Data

  Breach, yet Defendants continued to withhold any attempts to notify affected Ledger customers

  of the Data Breach.

          87.    After researchers informed Ledger of a potential data breach on its website,

  Ledger announced that its marketing and e-commerce database had been exposed in June of

  2020:

                 What happened
                 On the 14th of July 2020, a researcher participating in our bounty
                 program made us aware of a potential data breach on the Ledger
                 website. We immediately fixed this breach after receiving the
                 researcher’s report and underwent an internal investigation. A week
                 after patching the breach, we discovered it had been further
                 exploited on the 25th of June 2020, by an unauthorized third party
                 who accessed our e-commerce and marketing database – used to
                 send order confirmations and promotional emails – consisting
                 mostly of email addresses, but with a subset including also contact
                 and order details such as first and last name, postal address, email
                 address and phone number. Your payment information and
                 crypto funds are safe.

                 To be as transparent as possible, we want to explain what happened.
                 An unauthorized third party had access to a portion of our e-
                 commerce and marketing database through an API Key. The API
                 key has been deactivated and is no longer accessible.

                 What personal information was involved?

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                 Contact and order details were involved. This is mostly the email
                 address of our customers, approximately 1M addresses. Further to
                 investigating the situation we have also been able to establish that,
                 for a subset of 9500 customers were also exposed, such as first and
                 last name, postal address, phone number or ordered products. Due
                 to the scope of this breach and our commitment to our customers,
                 we have decided to inform all of our customers about this situation.
                 Those 9500 customers whose detailed personal information are
                 exposed will receive a dedicated email today to share more details.

                 Regarding your ecommerce data, no payment information, no
                 credentials (passwords), were concerned by this data breach. It
                 solely affected our customers’ contact details.

                 This data breach has no link and no impact whatsoever with our
                 hardware wallets nor Ledger Live security and your crypto
                 assets, which are safe and have never been in peril. You are the
                 only one in control and able to access this information.

         88.     This disclosure effort was flawed and misleading. Namely, Defendants did not

  immediately warn affected customer and instead took months to “investigate” the claims against

  their data storage practices. Defendants not only failed to disclose the Data Breach to impacted

  customers, but they also failed to explain the extent of the Data Breach, where the information

  was lost, and who it may have been lost to.

         vi.     Plaintiffs and Class members were still completely in the dark about the extent of
                 the loss of this information, being repeatedly told that the Data Breach had “no
                 impact whatsoever with our hardware wallets nor Ledger Live security and your
                 crypto assets.” In other words, the message being communicated to Plaintiffs and
                 Class members was that, after an exhaustive internal investigation, they had
                 identified a limited hack and had rectified the situation. This patently inaccurate
                 disclosure was reckless or, at best, negligent, and had severe consequences that
                 continue to harm Plaintiffs and Class members. Defendants Failed to Comply
                 with Federal Trade Commission (“FTC”) Guidelines

         89.     Defendants were prohibited by the 15 U.S.C. § 45 (the “FTC Act”) from engaging

  in “unfair or deceptive acts or practices in or affecting commerce.” The Federal Trade

  Commission (“FTC”) has concluded that a company’s failure to maintain reasonable and

  appropriate data security for consumers’ sensitive personal information is an “unfair practice” in

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  violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir.

  2015).

           90.     The FTC has promulgated numerous guides for businesses that highlight the

  importance of implementing reasonable data security practices. According to the FTC, the need

  for data security should be factored into all business decision-making. 9

           91.     In 2016, the FTC updated its publication, Protecting Personal Information: A

  Guide for Business, which established cybersecurity guidelines for businesses. 10 The guidelines

  note that businesses should protect the personal customer information that they keep; properly

  dispose of personal information that is no longer needed; encrypt information stored on computer

  networks; understand their network’s vulnerabilities; and implement policies to correct any

  security problems.

           92.     The FTC further recommends that companies not maintain Private Information

  longer than is needed for authorization of a transaction; limit access to private data; require

  complex passwords to be used on networks; use industry-tested methods for security; monitor for

  suspicious activity on the network; and verify that third-party service providers have

  implemented reasonable security measures. 11

           93.     The FTC has brought enforcement actions against businesses for failing to

  adequately and reasonably protect customer data, treating the failure to employ reasonable and

  appropriate measures to protect against unauthorized access to confidential consumer data as an

  unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”),


  9
    Start With Security: A Guide for Business, FED. TRADE. COMM’N (June 2015),
  https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf [hereinafter Start
  with Security].
  10
     Protecting Personal Information: A Guide for Business, FED. TRADE. COMM’M (Oct. 2016),
  https://www.ftc.gov/system/files/documents/plain-language/pdf- 0136_proteting-personal-information.pdf.
  11
     Start with Security, supra note 32.

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  15 U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must

  take to meet their data security obligations.

         94.     Defendants were aware (or should have been aware), at all times, fully aware of

  their obligation to protect the PII of Plaintiffs and Class members because of their positions as

  possessors, controllers, and processors of such data. Defendants were also aware (or should have

  been aware) of the significant repercussions that would result from their failure to do so.

         95.     As evidenced by Defendants’ failures to comply with their legal obligations

  established by the FTC Act, Defendants failed to properly safeguard Plaintiffs’ and Class

  members’ PII, allowing hackers to access and subsequently misuse it.

         vii.    Attacks on Ledger Users Increase Exponentially

         96.     By fall of 2020, Defendants did not even attempt to respond to reports that Ledger

  customers had faced severe threats or had seen millions of dollars in cryptocurrency untraceably

  removed from their accounts. The Shopify Defendants had not disclosed to its customers,

  including Ledger, nor to Plaintiffs and Class members, that it had any connection with the Data

  Breach. It had not contacted anyone who had their information lost in the Data Breach, nor had

  it provided sufficient disclosures to assist Plaintiffs and Class members in mitigating the impact

  the Data Breach continued to have on their lives. TaskUs, by this point, had not disclosed that it

  was the third-party contractor who had been processing the Shopify e-commerce data, and sat

  back while media reports of phishing attacks and the loss of cryptocurrency through the Data

  Breach increased.

         97.     Meanwhile, as the Shopify Defendants and TaskUs continued to leave customers

  in the dark about the extent of the Data Breach, Plaintiffs and Class members began receiving

  high volumes of phishing emails, SIM-swap attacks, and intimidation threats, with no warning



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  about where these attacks may be coming from, or how to avoid them. These emails looked like

  emails sent from Ledger support.

         98.     In November 2020, for example, a Ledger user reported a phishing attempt by

  hackers posing as the Ledger support team members and asking Ledger customers to download

  fake version of the Ledger Live software. The fake email was extremely convincing and was

  sent to the email addresses that Ledger users had registered their devices on:




         99.     Other Ledger users responded to the report by confirming that they had received

  and been tricked by the fake emails. One user reported: “Got 2 of them in 20 minutes this

  afternoon. The only thing they have is our e-mail address. They want us to install the so-called

  “latest version of Ledger Live” with a link in the mail, which is a typical red light. I wonder how

  many of the non tech-saavy Ledger owners who will fall in this trap…”



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         100.    Plaintiffs received these phishing emails from the hackers pretending to be Ledger

  support staff. Plaintiff Sipprell, for example, received a phishing email in December of 2020 that

  appeared to be from Ledger:




         101.    The hackers behind this fake email were of course armed with Ledger’s customer

  lists and email addresses, and were therefore aware that they were targeting Ledger customers.

  These hackers invested time and resources to create convincing fake emails that were successful.

  Worst yet, because of Defendants’ failure to admit to the scope of the Data Breach at this point

  in the timeline, many of the impacted customers did not know that their emails had been

  compromised. If they had known, the harm they suffered could have been prevented.

         102.    The hacking attempts were not limited to emails. Ledger users reported the

  receipt of SMS/text phishing attempts from actors claiming to be Ledger, as well as SIM-swap

  attacks. These attacks occurred when scammers trick a wireless telephone carrier into porting the

  victim’s phone number to the criminal’s SIM card. By doing so, the attacker is able to bypass

  two-factor authentication security on websites, including the Ledger Live service.



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         103.    But for Defendants’ unlawful conduct, hackers would not have accessed

  Plaintiffs’ and the putative Class members’ contact information. Defendants’ unlawful

  conduct—including active attempts to conceal the Data Breach and minimize the extent of the

  Data Breach or damages—has directly and proximately resulted in widespread digital attacks

  against Plaintiffs and the putative class.

         104.    In addition to these types of threats, Plaintiffs and Class members’ home

  addresses are now public online. The class as a whole is comprised of a group of people who are

  at an especially high risk of ransom threats and blackmail attempts. But for Defendants’ unlawful

  conduct, such criminals would not have access to the home or other postal addresses of Plaintiffs

  and the Class. This access has result in, at minimum, an invasion of Plaintiffs’ and the Class’s

  privacy and can lead to even greater damages, including theft or violent physical attacks.

         viii.   Severe Emotional Distress and Fear experienced by Ledger users

         105.    The actions described herein have resulted in severe emotional distress for

  Plaintiffs and the Class. Plaintiffs and the Class have lost all security and privacy over important

  financial information, as well as their home addresses, names, and other contact information in

  addition to the fact that they lost millions of dollars from the targeted attacks in the Data Breach.

         106.    Plaintiff Kissinger, for example, had to seek help from a mental health

  professional to cope with the ensuing panic attack that resulted from the loss of his

  cryptocurrency from his Ledger account, with his emotions continually on edge about the

  incident.

         107.    Plaintiffs and the Class remain on edge and alert as they are bombarded with

  phishing emails and other scams. Plaintiffs are suffering from the metal and emotional distress

  associated with such insecurity and uncertainty caused by the Data Breach. Plaintiff Kissinger



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  went into a state of depression after the Data Breach when the actual theft of his assets happened,

  and his personal and professional relationships have suffered. Class members, in addition to the

  huge financial loss, mental anguish they have been exposed to during the Data Breach, and

  ongoing phishing attempts, continue to suffer from stress, anxiety, depression, and financial

  problems as a result of the Data Breach.

         108.    As long as Plaintiffs and the Class members’ PII is accessible on the internet,

  Plaintiffs and the Class will remain at substantial risk. The Shopify Defendants and TaskUs have

  not offered any solutions to remedy the damages to Plaintiffs and the Class. Plaintiffs and Class

  members remain at permanent risk unless they take on the significant time and expense to

  change all of the personal information that was exposed, including their home addresses.

         ix.     Ledger Finally Admits to the Scale of the Data Breach

         109.    In December 2020, reports continued to come in about phishing attempts on

  Ledger users. By that time, Defendants’ inaction had provided an opportunity for the hackers to

  increase the sophistication and effectiveness of phishing attempts against Plaintiffs and Class

  members. For example, some of the phishing attempts referenced breaches and then instructed

  users, as a security measure, to install fake versions of Ledger Live that asked for their PII, or

  made near-exact copies of the Ledger device sign-in page that made users believe that another

  Ledger device had been linked to their email, luring them into frantically clicking on a fake

  “cancel” button that took them to a fake customer support website.

         110.    Plaintiffs, along with other Class members have reported losing significant sums

  of crypto-assets as a result of such phishing attempts. Plaintiff Forsberg believed that he was

  interacting with the Ledger customer support interface in December of 2020, which he received a

  link to through one of these phishing emails, resulting in the loss of approximately 6,000 XRP



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  coins, worth anywhere from $3000-$5000 in today’s money. Plaintiff Gunter fell victim to a

  SIM-card swap in which approximately 3.99 Ethereum and .042 Bitcoin were transferred out of

  his account, resulting in approximately $11,130 worth of loss in today’s money. Plaintiff

  Kissinger was similarly directed to a fake Ledger support website through a phishing text

  message that he received in November of 2020 in which hackers told him that someone had

  registered a Ledger device in his name without authorization, resulting in him inputting his

  credentials on the fake website and allowing the hackers to remove approximately $23,220 in

  cryptocurrency from his Ledger account. Finally, Plaintiff Sipprell was the victim of a phishing

  attack by email that resulted in the loss of approximately $100,000 worth of Stellar Lumens

  Coins from his Ledger Wallet. At the time of the phishing attack, Plaintiff Sipprell was in

  Florida.

         111.    The phishing attempts were sufficiently successful so that as the depth and scope

  of the Data Breach grew, hackers were paying up to $100,000.00 for the compromised list of

  ledger customer data. 12

         112.    On December 20, 2020, a hacker published the Ledger customer data online. This

  publication included the personal information of more than 270,000 Ledger customers. In fact,

  the contents of the Ledger database entrusted to the Shopify Defendants and TaskUs were

  distributed on Raidforums. Raidforums is a database sharing and marketing forum that

  distributes leaked information online. This leak of 272,000 pieces of detailed PII of consumers is

  significantly greater than the amount of data estimated by Ledger – of 9,500, an estimate

  reported by Ledger in July 2020.




  12
           @UnderTheBreach,      TWITTER         (Dec.    20,    2020,              01:38        PM),
  https://twitter.com/UnderTheBreach/status/1340735356375851009.
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         113.    Consumers and the media justly criticized Ledger and the Shopify Defendants,

  stating that they had “vastly underestimated” the Data Breach. 13

         114.    With the data made publicly available for free, many Ledger customers started

  receiving frightening threats. Plaintiffs and Class members immediately started receiving spam

  phone calls, emails, and even death threats.

         115.    Plaintiffs Forsberg, Gunter, Kissinger, and Sipprell, like many members of the

  Class, received numerous spam calls, emails, texts, and other communications attempting to

  phish for personal information and extort them out of their cryptocurrency assets. Plaintiffs’ PII

  is now available for other parties to sell and trade, and they continue to risk receiving more harm

  for the indefinite future as their PII is now in the hands of cybercriminals, and Defendants

  continue to maintain possession and control over it without implementing steps sufficient to

  improve their data security practices. Plaintiffs have also spent enormous amounts of time

  attempting to move their cryptocurrency out of their accounts and into more secure locations,

  changing cell phone numbers and bank accounts, as well as reporting the incidents to the FBI to

  attempt to find the missing cryptocurrency—all to no avail.

         116.    Importantly, the Data Breach exposed the physical addresses of the customers

  who lost their information in the Data Breach, meaning that users’ home addresses will not be

  safe unless they move away from them.

         117.    Before the Data Breach, Defendants should have regularly deleted or archived

  customer data and/or otherwise engaged in data security practices that protected Plaintiffs’ and

  Class members PII from online accessibility. After the Data Breach, for more than five months,




  13
    See Ledger Breach Vastly Underestimated, 270,000 Clients Data Leaked, CRYPTOBRIEFING
  (Dec. 21, 2020), https://cryptonews.net/en/news/security/439897/.
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  Defendants repeatedly failed to provide critical information to those affected by the Data Breach,

  compounding the damages suffered by Plaintiffs and Class members.

            118.   TaskUs employees should not have had access to Plaintiffs’ and Class members’

  PII, and Defendants should have limited employee access to customer data in a way that

  prevented rogue employees’ access to, and copying of, files from company servers.

  G.        Damages to Plaintiffs and the Class

            119.   Plaintiffs Forsberg, Gunter, Kissinger, and Sipprell have each suffered damages

  from the Data Breach as set forth above.

            120.   If Defendants had disclosed the extent of the Data Breach instead of waiting,

  Plaintiffs and Class members, sophisticated users of technology (many with technology

  backgrounds and wary of scams), would have been on heightened alert and not fallen prey to the

  resulting cyberattacks. Furthermore, others who may not have been of a sophisticated

  technology background could have taken additional steps to protect their PII.

            121.   As to other forms of damages, Plaintiffs’ emails and personal information have

  been compromised. Plaintiffs Forsberg, Gunter, and Sipprell have received an exorbitant amount

  of phishing and other scam emails and text messages that have caused them to lose time sorting

  through and deleting from their accounts.

            122.   The Data Breach has also exposed the locations of purchased Ledger products, by

  allowing access to Plaintiffs’ and other customers’ home addresses, which inherently impacts the

  security of products like the Ledger Wallet that use home addresses to keep login information

  secure.

            123.   Some Class members also remain fearful that intruders will physically harm them

  in their homes due to their addresses being leaked publicly.



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         124.     Had Plaintiffs been made aware of Defendants’ lax data security practices,

  unwillingness to promptly and completely disclose data breaches such as this one, and failure to

  provide timely notice and mitigatory assistance, Plaintiffs would not have agreed to allow their

  PII to be transmitted to Defendants.

                                   V.     CLASS ALLEGATIONS

         125.     Plaintiffs bring this Action as a class action pursuant to Fed. R. Civ. P. 23 and

  seek certification of the following Nationwide Class and State Subclasses (collectively defined as

  the “Class”):

                  Nationwide Class: All persons residing in the United States whose
                  PII was accessed, compromised, stolen, or exposed in the
                  Shopify/TaskUs Data Breach.

                  Arizona Subclass: All persons residing in Arizona whose PII was
                  accessed, compromised, stolen, or exposed in the Shopify/TaskUs
                  Data Breach.

                  Florida Subclass: All persons residing in Florida whose PII was
                  accessed, compromised, stolen, or exposed in the Shopify/TaskUs
                  Data Breach.

                  Kentucky Subclass: All persons residing in Kentucky whose PII was
                  accessed, compromised, stolen, or exposed in the Shopify/TaskUs
                  Data Breach.

                  North Carolina Subclass: All persons residing in North Carolina
                  whose PII was accessed, compromised, stolen, or exposed in the
                  Shopify/TaskUs Data Breach.

         126.     Excluded from the Class are Defendants, their officers and directors, and

  members of their immediate families or their legal representatives, heirs, successors or assigns

  and any entity in which Defendants have or had a controlling interest.

         127.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

  Plaintiffs can prove the elements of the claims on a class-wide basis using the same evidence as



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  would be used to prove those elements in individual actions alleging the same claims.

         128.    Numerosity—Federal Rule of Civil Procedure 23(a)(1). The members of the

  Class are so numerous that joinder of all Class members would be impracticable. On

  information and belief, the Class numbers in the tens of thousands. Moreover, the Class and

  Subclasses are composed of an easily ascertainable set of individuals who had Ledger Wallets

  and were thus impacted by the Data Breach. The precise number of Class members has already

  been ascertained and can be further confirmed through discovery, which includes Defendants’

  records. The disposition of Plaintiffs and Class members’ claims through a class action will

  benefit the parties and this Court.

         129.    Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

  and 23(b)(3). Common questions of law and fact exist as to all members of the Class and

  predominate over questions affecting only individual members of the Class. Such common

  questions of law or fact include, inter alia:

         -   Whether Defendants’ data security systems and/or protocol prior to and during the
             Data Breach complied with applicable data security laws and regulations;

         -   Whether Defendants’ data security systems and/or protocol prior to and during the
             Data Breach were consistent with industry standards;

         -   Whether Defendants properly implemented their purported security measures to
             protect Plaintiffs’ and the Class’s PII from unauthorized capture, dissemination, and
             misuse;

         -   Whether Defendants took reasonable measures to determine the extent of the Data
             Breach after it first learned of same;

         -   Whether Defendants disclosed Plaintiffs’ and the Class’s PII in violation of the
             understanding that the PII was being disclosed in confidence and should be
             maintained;

         -   Whether Defendants willfully, recklessly, or negligently failed to maintain and
             execute reasonable procedures designed to prevent unauthorized access to Plaintiffs’
             and the Class’s PII;

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          -     Whether Defendants were negligent in failing to properly secure and protect
                Plaintiffs’ and the Class’s PII;

          -     Whether Defendants were unjustly enriched by their actions; and

          -     Whether Plaintiffs and the other members of the Class are entitled to damages,
                injunctive relief, or other equitable relief, and the measure of such damages and relief.

          130.      Defendants engaged in a common course of conduct giving rise to the legal rights

  sought to be enforced by Plaintiffs, on behalf of themselves and other members of the Class.

  Similar or identical common law violations, business practices, and injuries are involved.

  Individual questions, if any, pale by comparison, in both quality and quantity, to the numerous

  common questions that predominate in this action.

          131.     Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are

  typical of the claims of the other members of the Class because, among other things, all Class

  members were similarly injured and sustained similar monetary and economic injuries as a result

  of Defendants’ uniform misconduct described above and were thus all subject to the Data Breach

  alleged herein. Further, there are no defenses available to Defendants that are unique to

  Plaintiffs.

          132.     Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

  Plaintiffs are adequate representatives of the Class because their interests do not conflict with the

  interests of the Class they seek to represent, they have retained counsel competent and

  experienced in complex class action litigation, and Plaintiffs will prosecute this action

  vigorously. The Class’s interests will be fairly and adequately protected by Plaintiffs and their

  counsel.

          133.     Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2). Defendants have

  acted and/or refused to act on grounds that apply generally to the Class, making injunctive and/or

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  declaratory relief appropriate with respect to the Class under Fed. Civ. P. 23 (b)(2).

         134.    Superiority—Federal Rule of Civil Procedure 23(b)(3). A class action is

  superior to any other available means for the fair and efficient adjudication of this controversy,

  and no unusual difficulties are likely to be encountered in the management of this class action.

  The damages or other financial detriment suffered by Plaintiffs and the other members of the

  Class are relatively small compared to the burden and expense that would be required to

  individually litigate their claims against Defendants, so it would be impracticable for members of

  the Class to individually seek redress for Defendants’ wrongful conduct. Even if members of the

  Class could afford individual litigation, the court system could not. Individualized litigation

  creates a potential for inconsistent or contradictory judgments and increases the delay and

  expense to all parties and the court system. By contrast, the class action device presents far

  fewer management difficulties and provides the benefits of a single adjudication, economy of

  scale, and comprehensive supervision by a single court.

         135.    Class certification is also appropriate under Rules 23(b)(1) and/or (b)(2) because:

         -   The prosecution of separate actions by the individual members of the Class would
             create a risk of inconsistent or varying adjudications establishing incompatible
             standards of conduct for Defendants;

         -   The prosecution of separate actions by individual Class members would create a risk
             of adjudication that would, as a practical matter, be dispositive of the interests of
             other Class members not parties to the adjudications, or would substantially impair or
             impede their ability to protect their interests; and

             Defendants have acted and refused to act on grounds generally applicable to the
             Class, thereby making appropriate final injunctive relief with respect to the members
             of the Class as a whole.

         136.    Class certification is also appropriate because this Court can designate particular

  claims or issues for class-wide treatment and may designate multiple subclasses pursuant to Fed.



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  R. Civ. P. 23(c)(4).

          137.    No unusual difficulties are likely to be encountered in the management of this

  action as a class action.

                                           COUNT I
                                         NEGLIGENCE
    (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the State Subclasses)

          138.    Plaintiffs incorporate the preceding paragraphs as though fully set forth herein.

          139.    Upon Defendants’ acceptance and storage of Plaintiffs’ and Class members’ PII

  in their computer systems and on their networks, Defendants undertook and owed a duty to

  Plaintiffs and the Class to exercise reasonable care to secure and safeguard that information and

  to use commercially reasonable methods to do so. Defendants knew that the PII was private and

  confidential and should be protected as private and confidential.

          140.    Defendants owed a duty of care not to subject Plaintiffs’ and the Class’s PII to an

  unreasonable risk of exposure and theft because Plaintiffs and the Class were foreseeable and

  probable victims of any inadequate security practices.

          141.    Defendants owed numerous duties to Plaintiffs and the Class, including the

  following:

          -    to exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting

               and protecting PII in their possession;

          -    to protect PII using reasonable and adequate security procedures and systems that are

               compliant with industry-standard practices; and

          -    to implement processes to quickly detect a data breach and to timely act on warnings

               about data breaches.

          142.    Defendants also breached their duty to Plaintiffs and Class members to adequately



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  protect and safeguard PII by disregarding standard information security principles, despite

  obvious risks, and by allowing unmonitored and unrestricted access to unsecured PII. Furthering

  their dilatory practices, Defendants failed to provide adequate supervision and oversight of the

  PII with which it was and is entrusted, in spite of the known risk and foreseeable likelihood of

  compromise and misuse, which permitted malicious, rogue employees to gather Plaintiffs’ and

  Class members’ PII and intentionally disclose it to others without consent, resulting in its

  fraudulent misuse.

         143.     Defendants knew, or should have known, of the risks inherent in collecting and

  storing PII and the importance of adequate data security.

         144.     Defendants knew, or should have known, that their data systems, networks, and

  data privacy protocols and procedures would not adequately safeguard Plaintiffs’ and Class

  members’ PII.

         145.     Defendants breached their duties to Plaintiffs and Class members by failing to

  provide fair, reasonable, or adequate computer systems, networks, and data security practices to

  safeguard Plaintiffs’ and Class members’ PII.

         146.     Because Defendants knew that the theft of the highly sensitive data they

  processed and stored in their systems would damage tens of thousands of individuals, including

  Plaintiffs and Class members, Defendants had a duty to implement sufficient privacy practices

  and procedures and adequately protect their data systems and the PII contained thereon.

         147.     Defendants’ duty of care to use reasonable security measures arose as a result of

  the special relationship that existed between Defendants and Plaintiffs and Class members,

  which is recognized by laws and regulations including but not limited to common law.

  Defendants were in a position to ensure that their systems protocols were sufficient to protect



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  against the foreseeable risk of harm to Class members from the compromise of the data with

  which they were entrusted.

         148.    In addition, Defendants had a duty to employ reasonable security measures under

  Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

  practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

  unfair practice of failing to use reasonable data security measures to protect confidential data.

         149.    Defendants’ duty to use reasonable care in protecting confidential data arose not

  only as a result of the statutes and regulations described above, but also because Defendants were

  bound by industry standards to protect confidential PII.

         150.    Defendants’ own conduct also created a foreseeable risk of harm to Plaintiffs and

  Class members and their PII. Defendants’ misconduct included failing to (1) secure Plaintiffs’

  and Class member’s PII; (2) comply with industry standard security practices; (3) implement

  adequate system and event monitoring; and (4) implement the systems, policies, and procedures

  necessary to prevent the Data Breach.

         151.    Defendants breached their duties, and thus were negligent, by failing to use

  reasonable measures to protect Class members’ PII, and by failing to provide timely notice of the

  Data Breach. The specific negligent acts and omissions committed by Defendants include, but

  are not limited to, the following:

         -   Failing to adopt, implement, and maintain adequate security measures to safeguard

             Class members’ PII;

         -   Failing to adequately monitor the security of Defendants’ networks and systems;

         -   Allowing unauthorized access to Class members’ PII;

         -   Failing to detect in a timely manner that Class members’ PII had been compromised;



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             and

         -   Failing to timely notify Class members about the Data Breach so that they could take

             appropriate steps to mitigate the potential for identity theft and other damages.

         152.      Through Defendants’ acts and omissions described in this Complaint, including

  their failure to provide adequate data security and failure to protect Plaintiffs’ and Class

  members’ PII from being foreseeably accessed, stolen, disseminated, and misused, Defendants

  unlawfully breached their duty to use reasonable care to adequately protect and secure Plaintiffs’

  and Class members’ PII during the time it was within Defendants’ possession and control.

         153.      Defendants’ conduct was grossly negligent and departed from all reasonable

  standards of care, including, but not limited to, failing to adequately protect the PII and failing to

  provide Plaintiffs and Class members with timely notice that their sensitive PII had been

  compromised.

         154.      Neither Plaintiffs nor Class members contributed to the Data Breach and

  subsequent misuse of their PII as described in this Complaint. Any and all actions taken by

  Plaintiffs and Class members which Defendants may argue contributed to the misuse of the

  compromised PII were reasonable under the circumstances.

         155.      As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

  members suffered damages as alleged above.

         156.      Plaintiffs and Class members are also entitled to injunctive relief requiring

  Defendants to (i) strengthen their data security systems and monitoring procedures; and (ii)

  submit to future annual audits of those systems and monitoring procedures.




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                                          COUNT II
                 BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
      (Against the Shopify Defendants on Behalf of Plaintiffs and the Nationwide Class or,
                              alternatively, the State Subclasses)

          157.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

  fully set forth herein.

          158.    Plaintiffs bring this claim for breach of third-party beneficiary contract against the

  Shopify Defendants, specifically.

          159.    Each Shopify Defendant, as part of their agreement with Ledger to provide e-

  commerce services, entered into a contract with Ledger to provide data processing services

  relating to the Ledger customer accounts.

          160.    This contract was made expressly for the benefit of Plaintiffs and the Class, as it

  was their confidential PII that the Shopify Defendants each agreed to process and protect through

  their services. Thus, the benefit of the e-commerce services to be provided by the Shopify

  Defendants, including the processing and protection of such PII, was the direct, express, and

  primary objective of the contracting parties.

          161.    The Shopify Defendants knew that if they were to breach this contract with

  Ledger, Plaintiffs and Class members would be harmed by, among other things, targeted

  phishing attempts and subsequent misuse of their PII.

          162.    The Shopify Defendants breached their third-party beneficiary contract with

  Ledger when they failed to use reasonable data security measures, including adequate

  supervision and monitoring of its own employees and TaskUs, that would have prevented the

  Data Breach.

          163.    As foreseen and contemplated in the contract entered into between the Shopify

  Defendants and Ledger, Plaintiffs and Class members were harmed by the Shopify Defendants’

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  failure to use reasonable data security measures to process and safeguard the PII. This harm

  includes, but is not limited to, the subsequent misuse of Plaintiffs’ and Class members’ PII and

  the future substantial risk of additional, imminent harm through the compromise of their PII.

             164.   Accordingly, Plaintiffs and the Class are entitled to damages in an amount to be

  determined at trial, along with their costs and attorney fees incurred in this action.

                                          COUNT III
                BREACH OF THIRD-PARTY BENEFICIARY CONTRACT
     (Against TaskUs on Behalf of Plaintiffs and the Nationwide Class or, alternatively, the
                                      State Subclasses)

             165.   Plaintiffs fully incorporate by reference all of the above paragraphs, as though

  fully set forth herein.

             166.   Plaintiffs bring this claim for breach of third-party beneficiary contract against

  TaskUs, specifically.

             167.   TaskUs entered into a contract with the Shopify Defendants to provide data

  processing services relating to the Ledger customer accounts.

             168.   This contract was made expressly for the benefit of Plaintiffs and the Class, as it

  was their confidential PII that TaskUs agreed to process and protect through its services. Thus,

  the benefit of the data processing services to be provided by TaskUs, including the processing

  and protection of such PII, was the direct, express, and primary objective of the contracting

  parties.

             169.   TaskUs knew that if it were to breach this contract with the Shopify Defendants,

  Plaintiffs and Class members would be harmed by, among other things, targeted phishing

  attempts and subsequent misuse of their PII.

             170.   TaskUs breached its third-party beneficiary contract with the Shopify Defendants

  when it failed to use reasonable data security measures that would have prevented the Data

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  Breach.

          171.    As foreseen and contemplated in the contract entered into between TaskUs and

  the Shopify Defendants, Plaintiffs and Class members were harmed by TaskUs’s failure to use

  reasonable data security measures to process and safeguard the PII. This harm includes, but is

  not limited to, the subsequent misuse of Plaintiffs’ and Class members’ PII and the future

  substantial risk of additional, imminent harm through the compromise of their PII.

          172.    Accordingly, Plaintiffs and the Class are entitled to damages in an amount to be

  determined at trial, along with their costs and attorney fees incurred in this action.

                                           COUNT IV
                DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
    (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the State Subclasses)

          173.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

  fully set forth herein.

          174.    Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

  authorized to enter a judgment declaring the rights and legal relations of the parties and grant

  further necessary relief. The Court also has broad authority to restrain acts, such as here, that are

  tortious and violate the terms of the federal and state statutes described in this Complaint.

          175.    An actual controversy has arisen in the wake of the Data Breach regarding

  Defendants’ present and prospective duties to reasonably safeguard customers’ and consumers’

  personal information and whether the Shopify Defendants and TaskUs are maintaining data-

  security measures adequate to protect the Class members, including Plaintiffs, from further data

  breaches that compromise their personal information.

          176.    Plaintiffs allege that Defendants’ data-security measures remain inadequate. The

  Shopify Defendants and TaskUs deny these allegations. In addition, Plaintiffs continue to suffer



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  injury as a result of the compromise of their PII and remain at imminent risk that further

  compromises of their PII and continued fraudulent activity against them will occur in the future.

         177.    Pursuant to its authority under the Declaratory Judgment Act, Plaintiffs ask the

  Court to enter a judgment declaring, among other things, the following: (i) the Shopify

  Defendants and TaskUs owe a duty to secure consumers’ PII and to timely notify consumers of a

  data breach under the common law, Section 5 of the FTC Act, and various state statutes; and (ii)

  the Shopify Defendants and TaskUs are in breach of these legal duties by failing to employ

  reasonable measures to secure consumers’ PII in their possession and control.

         178.    Plaintiffs further ask the Court to issue corresponding prospective injunctive relief

  requiring the Shopify Defendants and TaskUs to employ adequate security protocols consistent

  with law and industry standards to protect consumers’ PII from future data breaches.

         179.    If an injunction is not issued, the Class members will suffer irreparable injury, and

  lack an adequate legal remedy, in the event of another data breach at the Shopify Defendants

  and/or TaskUs. The risk of another such breach is real, immediate, and substantial. If another

  breach at TaskUs and/or the Shopify Defendants occurs, the Class members will not have an

  adequate remedy at law because many of the resulting injuries are not readily quantified and

  Class members will be forced to bring multiple lawsuits to rectify the same misconduct.

         180.    The hardship to the Class members if an injunction does not issue exceeds the

  hardship to the Shopify Defendants and TaskUs if an injunction is issued. Among other things, if

  another massive data breach occurs due to the misconduct of the Shopify Defendants and

  TaskUs, the Class members will likely be subjected to substantial hacking attempts, physical

  threats, and other damage, in addition to the hacking attempts, physical threats, and damages

  already suffered. On the other hand, the cost to the Shopify Defendants and TaskUs of



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  complying with an injunction by employing reasonable prospective data security measures is

  relatively minimal, and the Shopify Defendants and TaskUs have pre-existing legal obligations

  to employ such measures.

          181.    Issuance of the requested injunction will not disserve the public interest. To the

  contrary, such an injunction would benefit the public by preventing additional data breaches at

  the Shopify Defendants and/or TaskUs, thus eliminating the additional injuries that would result

  to the Class members and the millions of consumers whose personal and confidential

  information would be further compromised.

                                           COUNT V
                                    UNJUST ENRICHMENT
    (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the State Subclasses)

          182.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though fully

  set forth herein.

          183.    Plaintiffs and Class members conferred a monetary benefit on Defendants.

  Specifically, they purchased goods and services from Defendants and provided Defendants with

  their PII. In exchange, Plaintiffs and Class members should have received from Defendants the

  goods and services that were the subject of the transaction and should have been entitled to have

  Defendants protect their PII with adequate data security.

          184.    Defendants knew that Plaintiffs and Class members conferred a benefit upon them

  and has accepted or retained that benefit. Defendants profited from Plaintiffs’ purchases and used

  Plaintiffs’ and Class members’ PII for business purposes.

          185.    Defendants failed to secure Plaintiffs’ and Class members’ PII and, therefore, did

  not provide full compensation for the benefit the Plaintiffs’ and Class members’ PII provided.

          186.    Defendants acquired the PII through inequitable means as they failed to disclose



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  the inadequate security practices previously alleged.

          187.    If Plaintiffs and Class members knew that Defendants would not secure their PII

  using adequate security, they would have made alternative choices that excluded Defendants.

          188.    Plaintiffs and Class members have no adequate remedy at law.

          189.    Under the circumstances, it would be unjust for Defendants to be permitted to retain

  any of the benefits that Plaintiffs and Class members conferred on them.

          190.    Defendants should be compelled to disgorge into a common fund or constructive

  trust, for the benefit of Plaintiffs and Class members, proceeds that they unjustly received from

  them. In the alternative, Defendants should be compelled to refund the amounts that Plaintiffs and

  Class members overpaid.

                                           COUNT VI
       Violation of Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”)
                                   Fla. Stat. § 501.201, et seq.
   (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the Florida Subclass)

          191.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

  fully set forth herein.

          192.    Plaintiffs, Class members, and Defendants each qualify as a person engaged in trade

  or commerce as contemplated by the Florida Deceptive and Unfair Trade Practices Act

  (“FDUTPA”) Fla. Stat. § 501.201, et seq.

          193.    As alleged herein in this Complaint, Defendants engaged in unfair or deceptive acts

  or practices in violation of the FDUTPA, including but not limited to:

          a. representing that their services were of a particular standard or quality that they knew

              or should have known were of another;




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         b. Failing to implement and maintain reasonable security and privacy measures to

             protect Plaintiffs’ and Class members’ PII, which was a direct and proximate cause

             of the Data Breach and the resulting fraudulent misuse of their PII;

         c. Failing to identify foreseeable security and privacy risks, and remediate identified

             security and privacy risks, which was a direct and proximate cause of the Data Breach;

         d. Failing to comply with common law and statutory duties pertaining to the security

             and privacy of Plaintiffs and Class members’ PII, including duties imposed by the

             FTCA, 15 U.S.C. § 45, which was a direct and proximate cause of the Data Breach;

         e. Misrepresenting that it would protect the privacy and confidentiality of Plaintiffs’ and

             Class members’ PII, including by implementing and maintaining reasonable security

             measures;

         f. Omitting, suppressing, and concealing       the   material   fact   that   it   did   not

             reasonably or adequately secure Plaintiffs’ and Class members’ PII; and

         g. Omitting, suppressing, and concealing the material fact that it did not comply with

             common law and statutory duties pertaining to the security and privacy of Plaintiffs’

             and Class members’ PII, including duties imposed by the FTCA, 15 U.S.C. § 45, which

             was a direct and proximate cause of the Security breach.

         194.    Defendants’ representations, acts, and omissions were material because they were

  likely to deceive reasonable customers and users of its services about the adequacy of

  Defendants’ data security and ability to protect the confidentiality of consumers’ PII.

         195.    In addition, Defendants’ failure to secure consumers’ PII violated the FTCA and

  therefore violates the FDUTPA.




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         196.    Defendants knew or should have known that their computer systems and data

  security practices and monitoring procedures were inadequate to safeguard the PII of Plaintiffs

  and Class Members, deter thieves, and detect a breach and notify victims within a reasonable

  time, and that the risk of a data breach was highly likely.

         197.    The aforesaid conduct constitutes a violation of the FDUTPA, Fla. Stat. § 501.204,

  in that it is a restraint on trade or commerce.

         198.    The Defendants’ violations of the FDUTPA have an impact of great and general

  importance on the public, including Floridians. On information and belief, thousands of Floridians

  have used Defendants’ services through their use of Ledger Wallets, many of whom have been

  impacted by the Data Breach. In addition, Florida residents have a strong interest in regulating the

  conduct of corporations, like Defendants, who do business in Florida and whose policies and

  practices described herein affected millions across the country.

         199.    As a direct and proximate result of Defendants’ violation of the FDUTPA,

  Plaintiffs and Class members are entitled to a judgment under Fla. Stat. § 501.201, et seq, to

  enjoin further violations, to recover actual damages, to recover the costs of this action (including

  reasonable attorney’s fees), and such other further relief as the Court deems just and proper.

         200.    Defendants’ implied and express representations that they would adequately

  safeguard Plaintiffs’ and other Class members’ PII constitute representations as to

  characteristics, uses or benefits of services that such services did not actually have, in violation

  of Fla. Stat. § 501.202(2).

         201.    Defendants’ implied and express representations that they would adequately

  safeguard Plaintiffs’ and Class members’ PII constitute representations as to the particular




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  standard, quality, or grade of services that such services did not actually have (as the data

  security services were of another, inferior quality), in violation of Fla. Stat. § 501.204.

          202.    These violations have caused financial injury to Plaintiffs and Class members and

  have created an unreasonable, imminent risk of future injury.

          203.    Accordingly, Plaintiffs, on behalf of themselves and Class members, bring this

  action under the FDUTPA to seek such injunctive relief necessary to enjoin further violations

  and to recover costs of this action, including reasonable attorneys’ fees and costs.

                                           COUNT VII
          Violation of the North Carolina Unfair and Deceptive Trade Practices Act
                                 N.C. Gen. Stat. § 75-1.1, et seq.
     (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the North Carolina
                                            Subclass)

          204.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

  fully set forth herein.

          205.    The North Carolina Unfair and Deceptive Trade Practices Act, N.C. Gen. Stat. §

  75.1.1 (“UDTPA”), “declare[s] unlawful” all “[u]nfair methods of competition in or affecting

  commerce, and unfair or deceptive acts or practices in or affecting commerce.” Id. at § 75-1.1(a).

          206.    For the purposes of North Carolina’s UDTPA, the term “commerce” includes all

  business activities, however, denominated, but does not include professional services rendered by

  a member of a learned profession.

          207.    Defendants violated the North Carolina UDTPA by engaging in unlawful and unfair

  business acts and practices in or affecting commerce.

          208.    Defendants engaged in unlawful acts and practices with respect to their services by

  implementing the inadequate data security practices and procedures described herein, and by

  collecting Plaintiffs’ and Class members' sensitive PII for a profit, with knowledge that such PII



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  would not be adequately protected; and by gathering Plaintiffs’ and Class Members’ sensitive PII

  in an unsecure electronic environment in violation of North Carolina's data breach statute, the

  Identity Theft Protection Act, N.C. Gen. Stat. § 75-60, et seq. (the “ITPA”), which requires

  Defendants to undertake reasonable methods of safeguarding the sensitive PII of Plaintiffs and

  Class Members.

         209.    In addition, Defendants engaged in unlawful acts and practices when they failed to

  discover and disclose the Breach to Plaintiffs and Class members in a timely and accurate manner,

  contrary to the duties imposed by N.C. Gen. Stat. § 75-65.

         210.    Defendants further violated UDTPA by violating the ITPA by (a) failing to prevent

  the PII of Plaintiffs and Class members from falling into unauthorized hands; (b) failing to make

  reasonable efforts to safeguard and protect the PII of Plaintiffs and Class members; (c) failing to

  provide adequate notice of the Data Breach to affected consumers upon discovery that their

  systems had been compromised and PII had been stolen and disclosed to unauthorized parties; and

  (d) in other ways to be discovered and proven at trial.

         211.    Defendants willfully concealed, suppressed, omitted and failed to inform Plaintiffs

  and Class Members of the material facts as described above.

         212.    As a direct and proximate result of Defendants’ unlawful acts and practices,

  Plaintiffs and Class members have been injured, suffering ascertainable losses and lost money or

  property, including but not limited to the loss of their legally protected interests in the

  confidentiality and privacy of their PII.

         213.    Defendants knew or should have known that their data security practices and

  monitoring procedures were inadequate to safeguard Plaintiffs and the Class members’ PII, and

  that the risk of an internal data breach was significant.



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          214.    Defendants’ actions in engaging in the above-named unfair and unlawful practices

  were negligent, knowing and willful, and/or wanton and reckless with respect to the rights of

  Plaintiffs and Class members.

          215.    Plaintiffs and the Class seek relief under the UDTPA including, but not limited to:

  restitution to Plaintiffs and Class members of money and property that Defendants have acquired

  by means of unlawful and unfair business practices; disgorgement of all profits accruing to

  Defendants because of their unlawful and unfair business practices; treble damages (pursuant to

  N.C. Gen. Stat. § 75-16); declaratory relief; attorneys’ fees and costs (pursuant to N.C. Gen. Stat.

  § 75-16.1); and injunctive or other equitable relief.

                                         COUNT VIII
         VIOLATIONS OF THE ARIZONA CONSUMER FRAUD ACT (“ACFA”)
                                Ariz. Rev. Stat. § 44-1522, et seq.
  (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the Arizona Subclass)

          216.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

  fully set forth herein.

          217.    The ACFA provides in pertinent part: “The act, use or employment by any person

  of any deception, deceptive or unfair act or practice, fraud, false pretense, false promise,

  misrepresentation, or concealment, suppression or omission of any material fact with intent that

  others rely on such concealment, suppression or omission, in connection with the sale or

  advertisement of any merchandise whether or not any person has in face been misled, deceived or

  damaged thereby, is declared to be an unlawful practice.” Ariz. Rev. Stat. § 44-1522.

          218.    Plaintiffs and Class members are “persons” as defined by Ariz. Rev. Stat. § 44-

  1521(6).

          219.    Defendants provide “services” as that term is included in the definition of

  “merchandise” under Ariz. Rev. Stat. § 44-1521(5), and Defendants are engaged in the “sale” of

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  “merchandise” as defined by Ariz. Rev. Stat. § 44-1521(7).

         220.    Defendants engaged in deceptive and unfair acts and practices that include, but are

  not limited to, the following: (a) failing to maintain sufficient security to keep Plaintiffs’ and Class

  members’ confidential, financial, and personal data from being stolen; (b) failing to disclose the

  Data Breach to Plaintiffs and Class members in a timely and accurate manner, in violation of Ariz.

  Rev. Stat. § 18-552(B); (c) misrepresenting material facts by representing that they would maintain

  adequate data privacy and security practices and procedures to safeguard Plaintiffs and Class

  Members’ PII from unauthorized disclosure, release, data breaches, and theft; (d) misrepresenting

  material facts by representing that they did and would comply with the requirements of relevant

  federal and state laws pertaining to the privacy and security of Plaintiffs’ and Class members’ PII;

  (e) engaging in unfair, unlawful, and deceptive acts and practices by failing to maintain the privacy

  and security of Class members’ PII, in violation of duties imposed by and public policies reflected

  in applicable federal and state laws, resulting in the Data Breach; (g) engaging in unlawful, unfair,

  and deceptive acts and practices by failing to disclose the Data Breach to Plaintiffs and Class

  members in a timely and accurate manner; and (h) engaging in unlawful, unfair, and deceptive acts

  and practices by failing to take proper action following the Data Breach to enact adequate privacy

  and security measures and protect Plaintiffs’ and Class Members’ PII from further unauthorized

  disclosure, release, data breaches, and theft. These unfair, unlawful, and deceptive acts and

  practices violated duties imposed by laws, including Section 5 of the FTC Act.

         221.    The above unlawful, unfair, and deceptive acts and practices by Defendants were

  immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs

  and Class members that they could not reasonably avoid; this substantial injury outweighed any

  benefits to consumers or to competition.



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          222.    Defendants knew or should have known that their networks, systems, and data

  security and monitoring practices and procedures were inadequate to safeguard Class members’

  PII and that the risk of a data breach and/or theft of consumer PII was high. Defendants’ actions

  in engaging in the above-named unfair and unlawful acts and practices were negligent, knowing

  and willful, and/or wanton and reckless with respect to the rights of members of the Class.

          223.    As a direct and proximate result of Defendants’ unfair acts and practices,

  Defendants were unjustly enriched while Class members suffered an ascertainable loss of money

  or property, real or personal, as described herein, including but not limited to, the loss of their

  legally protected interest in the confidentiality of their PII.

          224.    Plaintiffs and Class members seek relief under the ACFA including, but not limited

  to, injunctive relief, actual damages, treble damages for each willful or knowing violation, and

  attorneys’ fees and costs.

                                           COUNT IX
                     Violations of the Kentucky Consumer Protection Act
                                 Ky. Rev. Stat. §§ 367.110, et seq
  (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the Kentucky Subclass)

          225.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

  fully set forth herein.

          226.    Defendants, operating in Kentucky, engaged in deceptive, unfair, and unlawful

  trade acts or practices in the conduct of trade or commerce, in violation of Ky. Rev. Stat. § 367.170,

  including but not limited to the following: (a) fraudulently advertising material facts pertaining to

  their good and services by representing and advertising that they would maintain adequate data

  privacy and security practices and procedures to safeguard Class members’ PII from unauthorized

  disclosure, release, and theft; (b) misrepresenting material facts pertaining to goods and services

  being provided to the Class by representing and advertising that it did and would comply with the

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  requirements of relevant federal and state laws pertaining to the privacy and security of Class

  members’ PII; (c) omitting, suppressing, and concealing the material fact of the inadequacy of the

  privacy and security protections for Class members’ PII; (d) engaging in deceptive, unfair, and

  unlawful trade acts or practices by failing to maintain the privacy and security of Class members’

  PII, in violation of duties imposed by state and federal law and public policies reflected in

  applicable federal and state laws, which failure resulted in the Data Breach; (e) engaging in

  deceptive, unfair, and unlawful trade acts or practices by failing to disclose the Data Breach to

  Class members in a timely and accurate manner, contrary to the duties imposed by Ky. Rev. Stat.

  § 365.732(2); and (f) engaging in deceptive, unfair, and unlawful trade acts or practices by failing

  to take proper action following the Data Breach to enact adequate privacy and security measures

  and protect Class members’ PII from further unauthorized disclosure, release, data breaches, and

  theft.

           227.   As a direct and proximate result of Defendants’ deceptive trade practices,

  Defendants were unjustly enriched and Class members suffered an ascertainable loss of money or

  property, real or personal, as described above, including the loss of their legally protected interest

  in the confidentiality and privacy of their PII.

           228.   The above unfair and deceptive practices and acts by Defendants were immoral,

  unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs and the

  Class that they could not reasonably avoid; this substantial injury outweighed any benefits to

  consumers or to competition.

           229.   Defendants knew or should have known that their computer systems and data

  security practices were inadequate to safeguard Class members’ PII and that the risk of a data

  breach or theft by rogue employees was high. Defendants’ actions in engaging in the above-named



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  unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and

  reckless with respect to the rights of members of the Class.

         230.    Plaintiff and the Class seek relief under Ky. Rev. Stat. § 367.220, including, but not

  limited to, damages, punitive damages, restitution and/or other equitable relief, injunctive relief,

  and/or attorneys’ fees and costs.

                                          PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the other members of the Class

  proposed in this Complaint, respectfully request that the Court enter judgment in favor of

  Plaintiffs and the Class and against Defendants, as follows:

         A.      For an Order certifying this action as a class action and appointing Plaintiffs and

  their counsel to represent the Class;

         B.      For equitable relief enjoining Defendants from engaging in the wrongful conduct

  complained of herein pertaining to the lax data security practices, procedures, networks, and

  systems leading to the unauthorized disclosure and subsequent misuse of Plaintiffs’ and Class

  members’ PII, and from failing to issue prompt, complete and accurate disclosures to Plaintiffs

  and Class members;

         C.      For equitable relief compelling Defendants to utilize appropriate methods and

  policies with respect to consumer data collection, storage, and safety, and to disclose with

  specificity all types of PII compromised during the Data Breach;

         D.      For equitable relief requiring restitution and disgorgement of the revenues

  wrongfully retained as a result of Defendants’ wrongful conduct;

         E.      For an award of actual damages, compensatory damages, statutory damages, and

  statutory penalties, in an amount to be determined, as allowable by law;



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         G.       For an award of punitive damages, as allowable by law;

         H.       For an award of attorneys’ fees and costs, and any other expense, including expert

  witness fees;

         I.       Pre- and post-judgment interest on any amounts awarded; and

         J.       Such other and further relief as this court may deem just and proper.

                                           JURY DEMAND

         Plaintiffs demand a trial by jury on all issues so triable.



         Dated: July 29, 2022

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